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 1   HARRIS B. TABACK, ESQ., Bar No. 111017
     Law Offices of Harris B. Taback
 2   345 Franklin Street, Ste. 102
     San Francisco, CA 94102
 3   Telephone: (415) 241-1400
     Efax: (415) 565-0110
 4   Email: htaback@earthlink.net

 5
     Attorney for Defendant YAO MING YU
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 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11                                            )
     UNITED STATES OF AMERICA,                )       Case No.: 1:11-cr-00113-AWI-BAM
12                                            )
                    Plaintiff,                )
13                                            )       APPLICATION FOR ORDER
           V.                                 )       TO RESCHEDULE SENTENCE
14                                            )       DATE FROM JUNE 12
     YAO MING YU,                             )       TO JULY 10, 2017
15                                            )
                    Defendant.                )
16
           The Defendant, YAO MIND YU, who is out of custody, by and through
17
     undersigned counsel, hereby respectfully requests without objection from the
18
     government or The United States Probation Office, that the current Sentencing
19
     Hearing be rescheduled from June 12, 2017 to July 10, 2017 at 1:00 p.m.
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           The sole purpose of this request is to permit the pre sentencing
21
     investigation to continue within the appropriate time deadlines prior to the
22
     hearing.   Counsel became ill last week and had to reschedule a probation
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     interview with YU from April 13, 2017 to April 24, 2017.      The additional time
24
     requested is needed to finish the pre sentence investigation and accommodate
25
     the availability of Counsel.




                                    Summary of Pleading
                                                1       -
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 1   DATED:   April 18, 2017                  Respectfully Submitted,
                                              LAW OFFICES OF HARRIS B. TABACK
 2

 3

 4                                            BY:_/S/ Harris Taback_____________
                                                HARRIS B. TABACK
 5                                              ATTORNEY FOR YAO MING YU

 6
                                        ___ORDER___
 7

 8                       GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT the June

 9   12, 2017 Sentencing in this matter is vacated and rescheduled to July 10,

10   2017 at 1:30 p.m.

11   IT IS SO ORDERED.
12   Dated: April 18, 2017
                                          SENIOR DISTRICT JUDGE
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                                  Summary of Pleading
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